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                      Exhibit A
                Case
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                                                        September 8, 2011

           VIA E-MAIL

           The Honorable Sally Shushan
           United States Magistrate Judge
           United States District Court
           for the Eastern District of Louisiana
           500 Poydras Street, Room B-345
           New Orleans, LA 70130

                      Re:         In re: Oil Spill by the Oil Rig "Deepwater Horizon" in the Gulf of Mexico on
                                  April 20, 2010, MDL No. 2179 – BP's Motion to Compel Duplicative Depositions
                                  and Documents HESI Has Already Agreed to Produce

           Dear Judge Shushan:

                   Halliburton Energy Services, Inc. ("HESI") submits this letter in response to BP
           Exploration and Production Inc. and BP America Production Co.’s ("BP") request that the Court
           compel the production of documents and witnesses related to an alleged "investigation"
           conducted by HESI. The majority of BP’s August 29, 2011 letter (“Letter” or “BP Letter”)
           concerns issues that have already been resolved or are not in dispute. Specifically, and as further
           detailed below, HESI previously produced documents, and has agreed to produce additional
           documents, related to any testing or modeling done by HESI employees not at the direction of
           counsel. In addition, HESI has already begun revising its privilege logs to release and produce
           any inadvertently withheld documents. Accordingly, the only issue to be decided is whether BP
           should be able to compel the depositions of three HESI employees: Marc Edwards, Ronald
           Sweatman, and Roland Chemali. HESI maintains that those depositions would be duplicative of
           prior depositions and discovery in this MDL proceeding and are thus unnecessary and
           burdensome.

                   Despite BP's attempt to create confusion regarding HESI's position, HESI has
           consistently maintained that there was no HESI "post-incident investigation" or "root cause
           analysis" for which HESI is claiming privilege. See BP Ex. 18 at 2. HESI clearly explained its
           position to BP on August 26, 2011:
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        1.     Documents relating to activities HESI undertook post-incident at the
               direction of counsel are privileged. HESI denies that it has waived any
               such privilege.

        2.     Documents relating to certain activities that were undertaken by individual
               employees of HESI, that were not done at the direction of counsel, and
               that are not covered by any separate privilege are not protected by the
               work product privilege. HESI has and continues to produce those
               documents pursuant to the previously agreed upon search terms.

        3.     There was no "official" HESI "post-incident investigation" or "root cause
               analysis" done at the direction of counsel or the company for which HESI
               is claiming privilege. Instead, HESI's claim of privilege relates to fact
               finding and analysis done specifically at the direction of counsel and in
               anticipation of litigation, or to matters involving direct communication
               with counsel. Again, HESI denies that it has waived any privilege
               attached to those activities.

See BP Ex. 18 at 2.

I.      BP Acknowledges that HESI has Already Agreed to Produce Documents Related to
        Non-Privileged Post-Incident Activities and to Revise Its Privilege Logs.

        In various meet-and-confer sessions and correspondence, HESI has assured BP that HESI
has produced or will produce any documents related to testing or modeling that was not done at
the direction of counsel ("Non-Privileged Post-Incident Activities"). BP admits in its Letter that
Halliburton has agreed to produce such materials and BP quotes HESI's August 29, 2011
statement that

        HESI has produced many documents concerning the activities undertaken by individual
        employees of HESI, not done at the direction of counsel, and not covered by any separate
        privilege ("Non-Privileged Post Incident Activities"). HESI will produce any additional
        documents, including those, if any, currently listed on HESI's privilege logs . . . .

BP Letter at 7 (quoting BP Ex. 19, Martinez email).

       Such previously produced documents include those referenced in the May 22, 2010 email
from Ronald Sweatman, in which the organization of a team to investigate certain issues related
to the Macondo incident is contemplated. BP Ex. 1. HESI has explained to BP that this effort
was initiated by a few individuals within HESI and not at the request of the company. See Ex. 1
(Roth Dep. 306:3-308:2). Documents relating to the "fact gathering" or analysis done by these
HESI employees, including the emails referenced in Tommy Roth's testimony, have already been
produced pursuant to previously agreed upon search terms. HESI has recently become aware of
additional documents in Ronald Sweatman's possession, and HESI is reviewing and producing
any responsive, non-privileged documents as quickly as possible.
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II.      Because There Was No Company-Led or Sanctioned "Investigation," the Requested
         Depositions Would be Irrelevant and Redundant.

        BP and Transocean conducted company-led and sponsored investigations which were
released to the public as the companies’ official version of the incident’s root cause(s).
Accordingly, individuals involved in those company-directed investigations were appropriately
deposed. Alternatively, HESI has not conducted a comparable investigation. Any post-incident
activities undertaken by individuals on their own accord cannot be considered a company-
sanctioned or led “investigation.” However, HESI has presented witnesses who have testified at
length regarding their personal knowledge of any "fact finding" or "investigative" activities done
on their own accord during the relevant timeframe. Given the HESI witnesses who have already
been deposed regarding any post-incident activities, the depositions now requested by BP would
be both irrelevant and unreasonably duplicative.

         A. No HESI-Sanctioned, Non-Privileged “Investigation”

        Unlike BP and Transocean, HESI did not undertake a company-directed, non-privileged,
post-incident investigation into the root cause(s) of the Macondo incident. See BP Ex. 18, Aug.
26 Hill email. Tommy Roth's initial "investigation," and the activities of others who gathered
facts to help facilitate it, did not involve the type of root cause analysis that BP might dub an
internal "investigation" similar to what BP purported to undertake with the Bly Report. HESI
witnesses have been very clear about that point. See Ex. 2 (Roth Dep., 248:5-25); Ex. 3 (Probert
Dep., 466:1-467:11); and Ex. 4 (Faul Dep., 193:8-21, 248:9-249:1, 572:11-25). Mr. Roth
expressly testified that any "investigation" that he and his "presentation team" may have
conducted pertained to gathering publicly available facts and other information for the purpose
of preparing presentations to various governmental and quasi-governmental bodies. Ex. 5 (Roth
Dep., 213:10-214:4; 250:25-252:5). The deposition testimony of Tim Probert and Ronnie Faul
confirm the same. See Ex. 6 (Probert Dep., 341:15-342:25); Ex. 7 (Faul Dep., 193:8-21; 248:9-
249:1; 388:9-389:2; 422:1-11). These documents and presentations have been produced, and
Messrs. Roth, Probert and Faul answered numerous questions about them in their respective
depositions.

         Any privileged post-incident activity conducted by HESI – as opposed to Non-Privileged
Post-Incident Activities conducted by various individuals – was done at the direction of counsel.
In the BP Letter, BP acknowledges Mr. Probert’s testimony that any investigation conducted by
HESI into the Deepwater Horizon incident was conducted at the direction of counsel. The BP
Letter also attaches a deposition excerpt in which Mr. Probert states, "I have no knowledge that
there is one [an investigation], but to the extent there was one [] it would be under the direction
of counsel." BP Ex. 13, Probert Dep. at 188:4-9. BP's assertion that HESI is "shielding"
disclosure of a non-privileged, internal investigation (Letter at 11) is without basis in light of the
documents produced by HESI and the testimony of HESI witnesses. For example, Mr. Faul
testified that he personally requested certain post-incident testing for his own informational
purposes, but not as part of any internal HESI investigation. Ex. 8 (Ronnie Faul Dep., 705:25-
706:9). Both Ronnie Faul and Tim Quirk, the individuals personally knowledgeable about this
post-incident testing, testified about it at length, and any available documents related to such
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testing were produced by HESI without a claim of privilege or work product. Ex. 9 (Faul Dep.,
299:16-300:16, 386:10-388:8, 705:25-706:1); Ex. 10 (Quirk Dep., 88:22-90:19, 120:12-121:19,
213:7-220:17, 499:19-502:23).

        HESI has produced and will continue to produce documents not created at the direction
of counsel in preparation for litigation or otherwise privileged. See id. In short, HESI is not
alleging the work product privilege as to such documents, as evidenced by the documents it has
produced. See BP Exs. 1, 5, 6, and 9.

       B. Requested Depositions Unreasonably Duplicative

        BP’s request to depose Marc Edwards, Ronald Sweatman, and Roland Chemali regarding
their post-incident activities should be denied because the depositions of these individuals would
be improper and unnecessary. No fewer than four HESI witnesses have testified openly about
post-incident testing. See Ex. 11 (Dubois Dep., 99:13-104:4); Ex. 12 (Roth Dep., 346:10-
347:15). Any additional depositions related to such activities would be solely for the purpose of
harassment. The Court must limit discovery, even if it would otherwise be allowed, if it finds (as
in this case) that "the discovery sought is unreasonably cumulative or duplicative[.]" FED. R.
CIV. P. 26(b)(2)(C)(i); see also Snoddy v. City of Nacogdoches, 98 Fed. Appx. 338, 340-41 (5th
Cir. 2004); Cont. Ill. Nat. Bank & Trust Co. of Chicago v. Wooten (In re Evangeline Refining
Co.), 890 F.2d 1312, 1321 (5th Cir. 1989) (finding that the court did not abuse its discretion by
quashing a subpoena for a deposition which was of limited probative value and largely
cumulative).

        Marc Edwards has no personal knowledge of events relating to the Macondo well or the
Deepwater Horizon incident. Mr. Edwards is a senior executive over one of the two divisions of
HESI. As a senior executive for HESI, his involvement in conversations regarding general
processes and/or media releases is tangential at best to Phase One issues. Mr. Edwards did not
participate in any way in any alleged internal HESI investigation. His only knowledge relating
to this litigation results from briefings by Ronnie Faul, Anthony Badalamenti, and/or HESI's
legal team regarding various third party investigations and reports.

        Ronald Sweatman is also an inappropriate Phase One deponent. BP claims to need Mr.
Sweatman's deposition because he was listed as a recipient on certain email communications and
discussions with Tommy Roth regarding certain calculations and potential modeling. However,
Mr. Roth has already testified about his discussions with Mr. Sweatman regarding the subject
calculations, and Mr. Roth has further testified that any work Mr. Sweatman may have done on
modeling was not part of any "team." As described supra, Mr. Sweatman's deposition would be
duplicative of prior testimony, and unnecessary.

        Roland Chemali is an inappropriate Phase One deponent because any of his involvement
relating to the Deepwater Horizon incident, and specifically relating to analysis of Sperry data
and hydrocarbon zones, falls squarely within work-product protection as it was performed at the
direction of counsel in preparation for litigation.
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III.      HESI is Entitled to Protect from Discovery any Testing Conducted in Anticipation
          of Litigation.

       BP wants HESI to assist it "in understanding the criteria used to separate [] which
materials will be produced and which materials will be withheld." HESI's criteria are as follows:
Responsive documents related to any activities conducted not at the direction of counsel have
been or will be produced; responsive documents related to HESI's preparations for trial, prepared
at the direction of counsel and/or prepared by HESI's consulting experts, including in-house
consulting experts, will continue to be withheld as immune from discovery under the work-
product doctrine. HESI should not have to turn over its post-incident work product materials
produced in connection with responding to the ongoing and exponentially growing litigation.

         BP’s suggestion that HESI’s post-incident activities conducted at the direction of counsel
are not privileged is unfounded. Letter at 10 (claiming that "HESI's investigation is not
privileged, even if it was 'conducted at the direction of counsel'"). BP is correct that the
involvement of counsel is not entirely dispositive of the "in anticipation of litigation"
requirement of the work product doctrine. However, the direction of counsel is "a highly
relevant factor that makes materials more likely to have been prepared in anticipation of
litigation." See In re Rainbow Marine Contrs., Inc., No. 09-4516, 2010 U.S. Dist. LEXIS 88008,
at *7 (E.D. La. Jul. 30, 2010). Although HESI concedes that there was some initial, discoverable
fact-gathering done by its employees for business purposes, subsequent efforts undertaken at the
direction of both in-house and outside counsel after the commencement of litigation are entitled
to work product protection. See generally Elec. Data Sys. Corp. v. Steingraber, No. 4:02-CV-
225, 2003 U.S. Dist. LEXIS 11818, at *22-23 (E.D. Tex. Jul. 9, 2003) (ordering production of
initial internal investigation efforts that were a "precaution for the remote prospect of litigation,"
but finding that documents generated after "litigation was a near certainty" were protected by the
work product doctrine).

        BP's claim that the fact gathering and analysis performed by HESI employees at the
direction of counsel was "in the ordinary course of business" is inapposite to relevant case law.
Documents made in the ordinary course of business are those that "have been created without
regard to whether litigation was expected to ensue." See Elec. Data Sys. Corp, 2003 U.S. Dist.
LEXIS 11818, at *14-15. In evaluating the standard, courts consider "whether it is a routine
practice to prepare that type of document or whether the document was instead prepared in
response to a particular circumstance." See Piatkowski v. Abdon Callais Offshore, LLC, No. 99-
3759, 2000 U.S. Dist. LEXIS 12067, at *6-7 (E.D. La. Aug. 11, 2000). Documents created and
materials prepared by HESI’s in-house consulting experts in preparation for litigation are
privileged. HESI has and will continue to produce documents related to Non-Privileged Post-
Incident Activities, but HESI must withhold as privileged any work product created in
preparation for this litigation.

        Because HESI has already agreed to search for and produce any additional documents
related to Non-Privileged Post-Incident Activities, no order compelling HESI to do the same is
necessary. Similarly, because HESI has agreed to revise its privilege logs and produce any
inadvertently withheld documents related to such Non-Privileged Post-Incident Activities, no
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order compelling HESI to do so is needed. The only remaining issue is whether BP may compel
the depositions of three individuals whose testimony is irrelevant or has already been
exhaustively covered by other deponents. HESI therefore respectfully requests that the Court
deny BP's motion in its entirety.



                                                        Best regards,




                                                        Jenny L. Martinez

cc:      Donald E. Godwin
         R. Alan York
         Bruce W. Bowman, Jr.
         Carolyn Raines
